

ORDER

PER CURIAM.
AND NOW, this 28th day of March, 2006, a Rule having been entered by this Court on January 26, 2006, pursuant to Rule 214(d)(1), Pa.R.D.E., directing Richard Kanoy Doty to show cause why he should not be placed on temporary suspension and no response thereto having been filed, it is hereby
ORDERED that the Rule is made absolute; Richard Kanoy Doty is placed on temporary suspension pursuant to Rule 214(d)(2), Pa.R.D.E., and he shall comply with all the provisions of Rule 217, Pa. R.D.E.; and the matter is referred to the Disciplinary Board pursuant to Rule 214(f)(1), Pa.R.D.E.
Madame Justice BALDWIN did not participate in this matter.
